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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE DISTRICT OF ARIZONA
10
11   United States of America,                     Case No. 2:19-cr-00898-DLR (DMF)
12                      Plaintiff,                 DEFENDANT’S SUPPLEMENT TO
13                                                 REQUEST TO DETERMINE THE
           vs.                                     FURTHER ADMISSABILITY OF
14                                                 MANNING’S TESTIMONY
     David Allen Harbour,
15
                        Defendant.
16
17
           Defendant David A. Harbour (“Harbour”), by and through undersigned counsel,
18
     submits this brief supplement to its Request for the Court to Determine the Further
19
20   Admissibility of Dr. Robert Manning’s Testimony.

21                                     BACKGROUND
22
           The Defense submits ¶14 of the SSI as further support for the admissibility of Dr.
23
     Manning’s testimony about Operation Chokepoint. T
24
25         This is what the government stated:

26         14.   The investors were also not told that HARBOUR had an
           arrangement with J.T. to receive upwards of a 25% finder's fee based upon
27
           the amount of investors' funds he raised and provided to KSQ. When
28         HARBOUR was unable to provide interest payments to investors, he told
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 1          the investors that J.T was to blame. When investors lost their money,
            HARBOUR claimed . . . "the change in laws by the President and
 2          Operation Chokepoint changed the Automated Clearing House (ACH) laws
 3          regarding payday lending." At this point, Defendant HARBOUR had
            continued to receive his 25% finder's fee from KSQ while blaming KSQ
 4          and J.T. for the lack of investment payments. Most, if not all, of the
 5          promissory notes signed by the victim-investors and Defendant HARBOUR
            were made between the investor and one of HARBOUR's entities, such as
 6          NorthRock or Canyon Road.
 7
 8          J.T. is a reference to Joel Tucker. The direct quote is to David Harbour. The party

 9   making the admission is the United States.
10
                                         CONCLUSION
11
            We again respectfully ask this Court to not strike Dr. Manning’s testimony even
12
13   though Harbour himself will not be testifying. The government not only supplied all of

14   the link needed, it did so by directly quoting David Harbour.
15
            Enough evidence exists of Operation Chokepoint where Dr. Manning is helpful to
16
     the trier of fact in evaluating the evidence, and the jury could conclude, or not conclude,
17
18   that Harbour was impacted by Operation Chokepoint based on the facts in evidence.

19          RESPECTFULLY SUBMITTED this 28th day of February 2023.
20
                                           CHRISTIAN DICHTER & SLUGA, P.C.
21
22                                         By: /s/ Stephen M. Dichter
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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on February 28, 2023 I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF system for filing and for transmittal
     of Notice of Electronic Filing to the following CM/ECF registrants:
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